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              Plaintiff’s Exhibit 35

To Plaintiff’s Summary Judgment Memorandum
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                   Donald J. Trump 0
                   4reaIDonaIdTrump. Follow
                                                                             x
           Iam on Air Force One flying to NATO and hear reports
           that the FBI lovers, Peter Strzok and Lisa Page are getting
           cold feet on testifying about the Rigged Witch Hunt
           headed by 13 Angry Democrats and people that worked
           for Obama for 8years. Total disgrace!
           1O40 AM. Jul 10, 2018                                             0
           fr   64.7K   • Reply     t Share

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